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m THE UNITED sTATES DISTRICT CoURT ' “*' ~~~~~ -°-‘1

FOR THE WESTERN DISTRICT OF TENNESSEE 05 AUG 25 AH | l: 38

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UNiTED sTATES oF AMERICA ) CLER;H?;"Q”§]'§~§ “'M
_ _ ) ll»i'i) Ur TN MEM EMPH¥S
Plalntif`f )
)
vs_ ) cr. No.; 04_20435 B
)
wEsLEY DAVIS )
)
Defendant )

ORDER GRANTING CONTINUANCE

This cause was scheduled for sentencing on August 25, 2005. I)efense counsel
requested a continuance for 90 days, in order to allow the Defendant time to dispose of
certain State court matters still pending and allow the Plaintiff time to prepare anticipated
additional pleadings

Defendant’s motion is hereby GRANTED.

Defendant’s sentencing hearing is therefore scheduled for December _j__‘j§`;

2005) we ‘i’.'@@ Q~~m-

rr ls So oEDERED this 25 day ofAugust 2005

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@`[EL BREEN
D STA'I`ES DISTRICT IUDGE

 

   

UNITED sTATE DISTRIC COUR - WESTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
case 2:04-CR-20435 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

